    Case 1-18-40766-cec             Doc 233-1        Filed 02/19/20        Entered 02/19/20 15:12:41




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                        Chapter 11

EARL RASHEED DAVIS,                                           Case No. 18-40766 (CEC)

                                    Debtor.
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                  ORDER RETROACTIVELY LIFTING AUTOMATIC STAY

        Upon the Court’s own motion at the hearing February 5, 2029, and it appearing that

appropriate notice has been given, and cause existing, it is

        ORDERED that the automatic stay, as applied to that certain state court action, entitled:

Lakisha Hawthorne v. Brown, et al., Kings Supreme No. 510293/2017, is lifted nunc pro tunc as

of February 9, 2018.
